         Case 4:20-cv-05640-YGR Document 897-4 Filed 03/13/24 Page 1 of 2




1                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
2
                                      OAKLAND DIVISION
3
      EPIC GAMES, INC.,                                Case No. 4:20-CV-05640-YGR-TSH
4
                     Plaintiff, Counter-defendant,     [PROPOSED] ORDER GRANTING EPIC
5                                                      GAMES, INC.’S MOTION TO ENFORCE
                             v.                        INJUNCTION
6
      APPLE INC.,                                      Judge: Hon. Yvonne Gonzalez Rogers
7

8                    Defendant, Counterclaimant.

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10                  The Court, having considered the evidence and arguments presented to it with
11   respect to Plaintiff and Counter-Defendant Epic Games, Inc.’s (“Epic”) Motion to Enforce
12   Injunction (“Motion”), and consistent with the Court’s opinion on the Motion issued herewith,
13   HEREBY ORDERS as follows:
14          1.      Defendant and Counterclaimant Apple Inc. (“Apple”) is held in civil contempt for
15   violating this Court’s order permanently restraining and enjoining it from “prohibiting developers
16   from . . . including in their apps and their metadata buttons, external links, or other calls to action
17   that direct customers to alternative purchasing methods, in addition to In-App Purchase”.
18   (Dkt. 813 (the “Injunction”).)
19          2.      Apple shall modify its App Store Review Guidelines (the “Guidelines”) to
20   explicitly state that that developers can include in their apps and metadata buttons, external links,
21   or other calls to action that direct customers to purchasing mechanisms other than in-app
22   purchase.
23          3.      Apple shall take all necessary and reasonable steps to bring its policies into
24   compliance with the Injunction and this Court’s opinion on Epic’s Motion.
25          4.      This Order will take effect in thirty (30) days.
26                  IT IS SO ORDERED.
27

28   [PROPOSED] ORDER GRANTING
     EPIC’S MOTION TO ENFORCE                                       CASE NO. 4:20-CV-05640-YGR-TSH
     INJUNCTION
        Case 4:20-cv-05640-YGR Document 897-4 Filed 03/13/24 Page 2 of 2




     DATED: ___________________, 2024
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3                                              The Honorable Yvonne Gonzalez Rogers
                                                   United States District Court Judge
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28   [PROPOSED] ORDER GRANTING
     EPIC’S MOTION TO ENFORCE             2        CASE NO. 4:20-CV-05640-YGR-TSH
     INJUNCTION
